

People v Bulwer (2023 NY Slip Op 04736)





People v Bulwer


2023 NY Slip Op 04736


Decided on September 26, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 26, 2023

Before: Renwick, P.J., Moulton, Kennedy, Scarpulla, Higgitt, JJ. 


Ind. No. 1814/18 Appeal No. 601 Case No. 2022-02024 

[*1]The People of the State of New York, Respondent,
vJames Bulwer, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Katheryne M. Martone of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Meghan McLoughlin of counsel), for respondent.



Order, Supreme Court, New York County (Laura A. Ward, J.), entered on or about April 19, 2022, which adjudicated defendant a risk level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion when it declined to grant a downward departure (see generally People v Gillotti, 23 NY3d 841, 861 [2014]). Defendant, who was 55 years old at the time of the underlying offense, did not demonstrate that he posed a lower risk of reoffense due to his age (see People v Rodriguez, 145 AD3d 489, 490 [1st Dept 2016], lv denied 28 NY3d 916 [2017]). The other mitigating factors defendant cites were adequately taken into account by the risk assessment instrument, and all the alleged mitigating factors are outweighed by the seriousness of the underlying offense (see People v Etheridge, 149 AD3d 446, 446 [1st Dept 2017], lv denied 29 NY3d 912 [2017]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 26, 2023








